     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 1 of 20




                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                MIDDLE DISTRICT OF GEORGIA
                                      ATHENS DIVISION

 UNITED STATES OF AMERICA,

        v.                                            Case No.: 3:14-CR-46 (CAR)

 ERICKSON MEKO CAMPBELL,
    Defendant.


                            PETITION FOR WRIT OF AUDITA QUERELA

       COMES NOW the defendant, Erickson Meko Campbell, by and through counsel, and

petitions this Court to issue a writ of audita querela and reduce his sentence to a term of

probation. In support of this petition, he states:

                                            SUMMARY

       After eight and a half years on pre-trial and appellate supervised release, Mr. Campbell,

now 52 years old, is poised to serve the 28-month sentence that this Court imposed in January

of 2016. R56 (judgment) at 2. It has been about nine years and one month since the date of this

transgression, without any further criminal acts or technical violations on his part. It has been

nearly fifteen years since his release from prison, and twenty-two years since the felony theft

that put him there. Put simply, Mr. Campbell is getting better, and any threat of recidivism or to

public safety has consistently diminished with the passage of time. This prolonged period of

impeccable behavior while under supervised release is a powerful and rare testament to his

fitness to serve a probationary sentence in this case. For the below reasons, this Court has the

power to permit him to do so under the unique circumstances of this case.



                                                 1
      Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 2 of 20




                                       PROCEDURAL POSTURE

        Nearly a decade ago, officers pulled Mr. Campbell over and found a firearm in his trunk.

As he was a felon, the government charged him with violating 18 U.S.C. §§ 922(g)(1) and

924(a)(2). Mr. Campbell moved to suppress, arguing that his traffic stop was unlawful at its

inception and unconstitutionally prolonged. This Court denied his motion after an evidentiary

hearing, in August of 2015. It sentenced him to a 28-month term of imprisonment. R56

(judgment) at 2.

        Mr. Campbell appealed the decision. In January of 2019, the Eleventh Circuit affirmed this

Court after hearing oral arguments. It stayed its mandate, however, and in August of 2020,

vacated its initial opinion and replaced it with a different opinion, still affirming this Court. It ruled

that the stop violated Mr. Campbell’s Fourth Amendment rights, but that the good faith

exception to the exclusionary rule applied to these circumstances. At this point, Mr. Campbell

moved for an en banc rehearing. The Eleventh Circuit granted his motion, and, after another

round of briefing and an en banc oral argument, it affirmed, 7-to-5.

        Subsequently, attorney Michael Dreeben, former deputy solicitor general for the United

States in charge of the Supreme Court’s criminal docket, contacted the undersigned with interest

in pursuing a petition for writ of certiorari on Mr. Campbell’s behalf. Mr. Campbell and the

undersigned agreed, and Mr. Dreeben and his team drafted and filed a petition for writ of

certiorari in the United States Supreme Court. Meanwhile, this Court maintained Appellant’s

bond, and granted a stay of surrender pending the resolution of the writ petition. Ultimately, the

Supreme Court denied the petition.




                                                    2
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 3 of 20




                                REASONS FOR GRANTING THE WRIT


   A. The Writ of Audita Querela


       Given the extraordinary life of this case, it is only fitting that Mr. Campbell make a final,

extraordinary request, using as a vehicle an extraordinary writ. He first outlines the history and

nature of the writ of audita querela, then explains how the circumstances of his case gives this

Court the jurisdiction and common law authority to issue the writ, and finally argues that this

Court should exercise its discretion to do so.

       “Audita querela” is Latin for “the complaint having been heard.” United States v. Holt, 417

F.3d 1172, 1174 (11th Cir. 2005). It “allowed petitioners to concede the legal validity of a

judgment at the time it was rendered, but challenge its continued execution due to inequities at

the time of judgment in conjunction with matters that arose after the [sic] its rendition.”

Fountain, Caleb J., Audita Querela and the Limits of Federal Nonretroactivity, 70 N.Y.U. ANNUAL

SURV. OF AM. L. 203, 207 (2014); see also BLACK’S LAW DICTIONARY 126 (7th ed. 1999).

       In English common law and in the United States, the writ of audita querela has always

comprised both equitable and legal components. Cf. Fountain, 70 N.Y.U. ANNUAL SURV. OF AM.

L. at 217-220.

                 From its inception in the fourteenth century through its abolition
                 in American federal civil proceedings in 1946, audita querela
                 occupied an obscure space among the panoply of postjudgment
                 remedies. However, one notable trend has remained constant, and
                 deeply informs the writ’s use today: it has consistently afforded
                 litigants, on account of some equitable defense, the opportunity to
                 present legal arguments that are otherwise unavailable on account
                 of a statute or other law.




                                                 3
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 4 of 20




Id. at 226. “Nowhere in the case law is there a hard-and-fast rule requiring a perfect ‘legal’

claim within the four corners of the complaint, . . . .” Id. at 225. Rather, audita querela has

always “functioned as an equitable vehicle to air legal objections to the continued execution

of a judgment.” Fountain, 70 N.Y.U. ANNUAL SURV OF AM. L. at 209 (italics in original.) It has

“involved an informal two-step process of the petitioner establishing an equitable claim, and

subsequently a legal defense.” Id.

       In 1946, the promulgation of Federal Rule of Civil Procedure 60(b) abolished the writ in

civil practice. Eight years later, the Supreme Court clarified that common law writs remain viable

in the criminal context under the “all writs section of the Judicial Code[.]” United States v.

Morgan, 346 U.S. 502, 506, 511 (1954); see 28 U.S.C. § 1651(a) (“The Supreme Court and all

courts established by Act of Congress may issue all writs necessary or appropriate in aid of their

respective jurisdictions agreeable to the usages and principles of law.”) It clarified that “the

enactment of § 2255” was not “a bar to this motion,” and held “that the District Court has power

to grant such a motion.” Id. at 511. However, courts should exercise their discretion “only under

circumstances compelling such action to achieve justice.” Id.

       The Eleventh Circuit has confirmed that the writ of audita querela specifically survives 28

U.S.C. § 2255. Holt, 417 F.3d at 1175. Drawing from Morgan, 346 U.S. at 510-11, it noted that “28

U.S.C. § 2255 was not enacted to provide the exclusive remedy for a prisoner to obtain

postconviction habeas corpus relief in all circumstances.” Holt, 417 F.3d at 1175. Rather,

“ ‘federal courts may properly fill the interstices of the federal postconviction remedial

framework through remedies available at common law.’ ” Id. (quoting United States v. Ayala, 894

F.2d 425, 428 (D.C.Cir. 1990)). It made clear, however, that “fill[ing] the interstices” left by 28


                                                4
      Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 5 of 20




U.S.C. § 2255 is not a license to get around the many procedural hurdles to obtaining a § 2255

remedy. Id. Rather, only when claims are not “cognizable” in a § 2255 motion can a litigant obtain

a remedy from one of the common law writs. Id. Hence, it treated Mr. Holt’s petition for writ of

audita querela as a motion to vacate, and held such a motion was unauthorized because the

Court had not authorized a second or successive motion. Id. at 1175.

        One category of claims not “cognizable” in a § 2255 motion is post-judgment equitable

claims – such a claim does not argue this court’s judgment was erroneous at the time it was

imposed, but that enforcing the judgment would now be unjust, based on subsequent

developments. At the same time, this claim is not purely equitable. Rather, Mr. Campbell argues

below that evidence arising between the imposition and execution of his sentence changes the

calculus under 18 U.S.C. § 3553(a), such that his 28-month prison sentence would now be

“greater than necessary” to satisfy the statutory sentencing factors. Audita querela is designed

for precisely this sort of claim.


    B. The Writ of Audita Querela is an appropriate vehicle in this case to modify Mr.
       Campbell’s sentence.
        Preliminarily, this Court has jurisdiction to hear and grant this petition. A common law

post-conviction petition is part of the original case or controversy to which it pertains, because it

is a “step” in the criminal case. “[B]ecause the court had original jurisdiction over the ‘case,’ and

the petition contests the validity or continued application of the judgment, it remains within the

court’s contemplation.” Fountain, 70 N.Y.U. ANNUAL SURV. OF AM. L. at 231; see Morgan, 346 U.S.

at 505 n.4 (“Such a motion [for writ of coram nobis] is a step in the criminal case and not, like

habeas corpus where relief is sought in a separate case and record, the beginning of a separate



                                                 5
      Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 6 of 20




civil proceeding.”); United States v. Denedo, 556 U.S. 904, 913 (2009) (same). Hence, this court

has original jurisdiction over this petition under 18 U.S.C. § 3231.

        The sparing use of audita querela has left the writ “shrouded in ancient lore and mystery.”

Fed. Rule Civ. Pr. 60 advisory committee’s note. But its historical underpinnings show why it is an

appropriate vehicle with which to reduce Mr. Campbell’s sentence. In a nutshell, as English

feudalism began to give way to a rising merchant class in the 14th Century, the King enacted

statutes designed to ensure prompt debt collection, whereby debtors were automatically

imprisoned upon execution of a judgment, with no opportunity to plead any defenses. Fountain,

Caleb J., Audita Querela and the Limits of Federal Nonretroactivity, 70 N.Y.U. Annual Surv. Of Am.

L. 203, 212-214 (2014). These debt collection statutes were easily abused by forgery, and other

frauds, giving rise to a penal crisis. Id. at 214. English common lawyers created the writ of audita

querela as a response to this crisis. Id.

        This petition arises in an analogous context. Congress passed the Sentencing Reform

Act (“SRA”) of 1984, in part to streamline and equalize federal sentencing, and it included

sections of the SRA and of the Anti-terrorism and Effective Death Penalty Act (“AEDPA”), to

add measures of finality to criminal judgments and sentences. The incarcerated population

in this country has ballooned since the advent of these and other tough federal criminal laws,

along with similar criminal laws at the state level – leading to what many consider to be a

penal crisis.

        At the same time, the courts have explicitly left open the availability of common law

writs to “fill the interstices” left by these laws. Holt, 417 F.3d at 1175 (quoting Ayala, 894 F.2d

at 428. And the doctrine of constitutional avoidance, paired with the habeas corpus clause of


                                                  6
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 7 of 20




the United States Constitution, counsels against construing these statutory reforms to

preclude such common law remedies. See U.S. CONST. ART. I, SEC. 9, CL.2 (“The privilege of the

writ of habeas corpus shall not be suspended, unless when in cases of rebellion or invasion

the public safety may require it.”); cf. I.N.S. v. St. Cyr, 533 U.S. 289, 299 (2001) (interpreting

the AEDPA and the IIRIRA 1 not to eliminate district court review of certain immigration orders

via habeas corpus, absent a “clear indication that Congress intended that result” – an

indication Congress provided in a subsequent statute), abrogated by statute as stated in

Nasrallah v. Barr, _U.S._, 140 S.Ct. 1683 (2020). Thus, the AEDPA and the SRA of 1984 cannot

constitutionally provide the exclusive remedies to all criminal claims in all cases. Under the

United States Constitution and the case law, and notwithstanding 18 U.S.C. § 3582, there

remains a common law remedy for the rare defendant in Mr. Campbell’s situation – a quasi-

legal and quasi-equitable pleading that embraces his unique claim that the 18

U.S.C. § 3553(a) analysis has changed significantly over a prolonged period in between the

imposition and execution of his sentence. The writ of audita querela fits the bill.

       Here, Mr. Campbell does not file this writ as a means of getting around any procedural

hurdles, or other requirements of a motion filed under 28 U.S.C. § 2255. His claim is not of

purely legal error, so it is not cognizable in a 28 U.S.C. § 2255. Even in light of the changing

equities of his sentencing, he does not argue that this Court’s sentence was an abuse of

discretion. Rather he argues this Court has the authority under common law to reconsider,

based on intervening events. Cf. Pepper v. United States, 562 U.S. 476, 490-505 (2011)

(district court can consider post-sentencing rehabilitation at resentencing after successful


1 The Illegal Immigration Reform and Immigrant Responsibility Act of 1996.


                                                  7
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 8 of 20




appeal); Concepcion v. United States, _U.S._, 142 S.Ct. 2389, 2400-2401 (2022) (district court

can consider intervening changes of law or fact in exercising discretion to reduce sentence

under the First Step Act).


   C. The Evidence In Support of Granting the Writ


       Since being arrested for the instant offense on September 16, 2014, and released on bond

the same day, Mr. Campbell has exemplified model citizenship. According to his probation officer,

Matt Latimore, he has been compliant with all the terms of his supervised release. For at least

the last 5 years, has enjoyed non-reporting status.

       Through the duration of appellate litigation, Mr. Campbell has maintained employment in

largely blue collar, manual labor warehouse positions. Despite the long hours and physical

demands of the work, Mr. Campbell has managed to incrementally increase his wages over time.

According to his Presentence Report, Mr. Campbell worked full-time, installing doors, and bath

and kitchen appliances for $12.80/hour, at American Woodmark Corporation, 1017 GA-42,

Jackson, GA 30233, from July 12, 2011, through January 28, 2015. R53 (PSR) at 10. He then worked

as a plumber’s assistant in Stockbridge, Georgia, from February 2015, through September 2015.

Id. Starting in September of 2015 – the month he entered his guilty plea in this case – he worked

at Patrick Home Renovations for $8.00/hour. Id.

       These days, he earns nearly two and half times that ($19.75/hour), as a picker and packer

for DHL Supply Chain Warehouse. 2 Mr. Campbell has built up considerable experience and


2 Just recently, Mr. Campbell was promoted into a permanent position as a Floater with DHL,

4505 Derrick Industrial Parkway Atlanta, GA 30349. His supervisor there, Jerald Willis, speaks
favorably about Mr. Campbell’s job performance and positive attitude and demeanor. Mr.
Campbell works hard as a floater, unloading trucks and ensuring that products are delivered to
                                                8
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 9 of 20




expertise in the supply chain industry over his years on bond. He has worked for Wayfair 3 and

Amazon 4, among others, and left each company for a higher paying position. 5

       When he is not on a jobsite 40 or more hours a week, Mr. Campbell stays close to home.

He rents a modest, well-kept residence in McDonough with his 75-year-old mother, Betty

Williams, who was widowed in 2010. Ms. Williams appreciates her son’s doting personal

assistance and essential economic support at this late stage of her life. Mr. Campbell’s third shift

warehouse work allows him to accompany his mother to regular medical appointments for

treatment of scoliosis, hypertension, and osteoporosis; facilitate their participation in

congregational activities at Eagle’s Landing First Baptist Church in McDonough; and otherwise

provide substantial eldercare. Ms. Williams reports that she drives less than she used to and

depends on her son to do all the household chores and maintenance beyond the cooking and

light housekeeping she can still manage. Together, they sustain a quiet, peaceful household for




the research department for preparation and shipping, as well as keeping every workstation in
the department fully supplied. If other departments are short-handed, Mr. Campbell can be
counted on to fill in those personnel gaps on a temporary basis.

3 He worked for Wayfair, 130 Distribution Dr., McDonough, GA, 30252, from November 12, 2015

until April 12, 2019. His former supervisor there was Josh.

4 He worked for Amazon, 2255 W. Park Place Blvd., Stone Mountain, GA 30087, from May 6, 2019,

until May 11, 2021. His former supervisor there was Travis.

5 He worked for Wholesale Glass Distributions as a delivery driver form February 14, 2021, until

February 4, 2022. His former supervisor there is Mike. Drawn by successively higher wage offers,
Mr. Campbell then moved on to Phillips-Van Heusen Warehouse, 127 Liberty Industrial Parkway
McDonough, GA 30253 for several months, and then Mudpie Company, 4893 Lewis Road Stone
Mountain, GA 30083 before settling in presently at DHL about six months ago.


                                                 9
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 10 of 20




which Betty Williams is grateful. 6




Williams/Campbell home:                             Ms. Betty Williams & son, Erickson Campbell
409 Autumn Lake Ct. McDonough, GA



       Not only has Mr. Campbell dedicated himself to working hard and attentively caring for

his mother in his years on bond, but he has also taken steps recently to better himself

professionally. In early 2022, Mr. Campbell began working with a recruiter, Sonya Brown, for



6 According to Ms. Williams, she is not in a position financially to afford even the most basic

assisted living care should she be faced with living alone. Her retirement is financed exclusively
through a monthly social security check. She depends on her son to contribute several hundred
dollars every month to housing and daily living expenses to maintain their modest lifestyle. While
the fact that a defendant’s family might incur some degree or financial hardship or suffer from
the absence of the defendant through incarceration are not ordinarily considered in crafting
departures to sentencing, the loss of caretaking and financial support that Mr. Campbell offers
his elderly and ailing mother is unique and noteworthy. In the instance, the loss of caretaking
and financial support to Ms. Williams substantially exceeds the harm ordinarily incident to
incarceration of a similarly situated defendant, and there are no alternative remedial or
ameliorative programs available to Ms. Williams. Simply put, Mr. Campbell’s caretaking and
financial support are irreplaceable to the welfare of his mother at this time and granting this
motion will effectively address the loss of caretaking and financial support that Ms. Williams
would otherwise suffer.


                                               10
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 11 of 20




Swift Transportation Company with the goal of obtaining a Class A Georgia Commercial Driver’s

License (CDL). 7 This past spring, Mr. Campbell completed a 40-hour online training sponsored by

Swift Transportation for aspiring commercial drivers. Likewise, he secured DOT certification of

his physical fitness to drive with a Class A commercial license.8 Mr. Campbell has been studying

daily as he prepares to take and pass the Georgia Department of Motor Vehicles CDL skills test

later this month. Once that test is under his belt, Mr. Campbell is invited to attend a 3-week fully




7 Driving a Commercial Motor Vehicle (CMV) requires a higher level of knowledge, experience,

skills, and physical abilities than that required to drive a non-commercial vehicle. To obtain a
Commercial Driver's License (CDL), an applicant must pass both skills and knowledge testing
geared to these higher standards. Additionally, CDL holders are held to a higher standard when
operating any type of motor vehicle on public roads. Serious traffic violations committed by a
CDL holder can affect their ability to maintain their CDL certification.




8


                                                11
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 12 of 20




subsidized, residential Entry Level Driver’s Training Course at Swift’s Trucking School in Waco,

Georgia. 9

       Cognizant of both his supervised release reporting obligations and caregiving

responsibilities, Mr. Campbell does not envision becoming a long-haul, big rig truck driver who

ranges far from home for weeks on end. He does, however, hope to improve his – and by

extension his mother’s – economic security as they both age. Given his many years of warehouse

work, Mr. Campbell has reached his maximum earning potential in an industry centered around

a largely temporary workforce of low-skilled, manual labor positions. With a Class A CDL, Mr.

Campbell will be well-positioned to break through the $20/hour wage ceiling he is currently

laboring under and pursue in-state, “turnaround” CDL work with ample advancement

opportunities as he gains experience. 10

       While Mr. Campbell and his mother both accept that he must pay his debt to society for

his offense, his behavior over the last eight years reflects that he deeply internalized his

transgressions when he pled guilty in 2015. He has spent every day since then atoning for those

errors. Considering Mr. Campbell’s impeccable history while out on bond, it’s obvious that his

maturity has only grown throughout the saga of reckoning with the legal resolution of this case

over a prolonged period. Indeed, the greatest barrier now to Mr. Campbell’s ability to continue

his already successful reintegration into his Middle Georgia community, where he has settled




9 Class A CDL training prepares students to land an entry-level job operating a Class A commercial

motor vehicle. Class A vehicles are defined as any combination of vehicles with GVWR of 26,001
or more pounds provided the GVWR of the vehicles being towed is more than 10,000 pounds.
10 See, Ziprecruiter’s current job listings for short-run commercial driving.


                                                 12
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 13 of 20




into a family-centered life around work and caregiving, is a prison sentence. Moreover, it goes

without saying that any prison term would necessarily punish his wholly innocent mother, Betty

Williams. 11 Accordingly, a modification of Mr. Campbell’s sentence to an extended probationary

term would be sufficient punishment to meet the sentencing goals before this Court.

       Undersigned counsel has consulted with U.S. Probation Officer Matt Latimore, who has

supervised him for about the past two and a half years. He represents that he has had no issues

with Mr. Campbell’s compliance, and he takes no position on this motion. Undersigned counsel

has also consulted Assistant United States Attorney Michelle Schieber, who represents that the

government takes no position on Mr. Campbell’s motion and request for a sentence to a

probationary term.


   D. This court should exercise its discretion, grant this petition, and reduce Mr. Campbell’s
      sentence to a probationary term, considering the mitigation evidence.
       Mr. Campbell has served a term of pre-trial and appellate release that is about three and

a half years lengthier than his maximum term of probation. 18 U.S.C. § 3561(c)(1). Were this

Court to convert his 28-month term of imprisonment to an equivalent term of probation, his total

period of supervision would be nearly thirteen years. Given the “ ‘substantial restrictions of

freedom’ involved in a term of supervised release or probation[,]” over such a long period of

time, the reduction Mr. Campbell seeks from a 28-month term of imprisonment this Court

originally imposed is not dramatic. Gall v. United States, 552 U.S. 38, 48 (2007). Though it would

be a greater reduction from his Guidelines recommendation, the age of his prior convictions

significantly mitigates his criminal history.


11 Supra, n. 6, as well as US Sentencing Guidelines Manual Section 5H1.6, policy statement and

commentary.
                                                13
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 14 of 20




        In December of 2015, Mr. Campbell had a total offense level of seventeen and a criminal

history category of IV, based on six criminal history points. R53 (PSR) at 11. These six points

stemmed from a seven-year initial sentence for an armed robbery committed when he was

twenty-three years old, and an eight-year concurrent sentence for a felony theft by taking,

committed when he was thirty years old, and for violating his parole for the armed robbery by

committing this theft. Id. at 7.

        At this point, it has been nearly fifteen years since his release from these concurrent

prison sentences. Hence, were his PSR re-calculated after September 15th of this year, these

offenses would no longer result in criminal history points, and his criminal history category would

be I. See U.S.S.G. §4A1.1, app. note 1. This would reduce his Guidelines range from 37 – 43

months, to 24 – 30 months. The point of this counterfactual is not to relitigate his Guidelines, of

course. The fact is those offenses were serious and they would still count towards his criminal

history score as of the date of this filing.

        But the policy behind the staleness requirement for old offenses should inform this

Court’s judgment in exercising its discretion in this case. The Commission reminds us in its

introductory commentary to the Criminal History Section of the Guidelines that “[t]he specific

factors included in §4A1.1 and §4A1.3 are consistent with the extant empirical research assessing

correlates of recidivism and patterns of career criminal behavior.” U.S.S.G., Ch. 4, Pt. A,

“Introductory Commentary.” Hence, “[l]ike its predecessor, the U.S. Parole Commission, the

Sentencing Commission concluded that ‘the correlation between a defendant’s criminal history

and predictable recidivism diminished after a prolonged period of conviction-free behavior.’ ”




                                                14
       Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 15 of 20




Levine, James G., The Armed Career Criminal Act and the U.S. Sentencing Guidelines: Moving

Towards Consistency, 47 HARV. J. ON LEGIS. 537, 553 (2009) (citation omitted.)

          Unstated “policy reasons” prevented the Commission from incorporating age into the

criminal history Guidelines, notwithstanding the empirical research showing the correlation

between this factor and recidivism. U.S.S.G., Ch. 4, Pt. A “Introductory Commentary.” But it has

nonetheless published its research documenting the decline of recidivism with age. U.S.

Sentencing Commission, The Effects of Again on Recidivism Among Federal Offenders (2017) 12 The table

below depicts the general trend:


Table 1 Overview of Age and Recidivism Study Findings Rearrest Recidivism Measure

                                   Younger                                                    60 Years
                                   than 30       30 to 39       40 to 49       50 to 59       or Older
                                    Years         Years          Years          Years         n=1,204
                                   n=6,796        n=8,523        n=5,894        n=2,969
     Percent
                                       64.8%          53.6%         43.2%          26.8%         16.4%
     Median  Time
     Recidivism   to
                Event              17 Months     22 Months 22 Months 25 Months 28 Months
     Median  Number
     Recidivism Eventsof                     3              2              2              1          1
                                                                   Other    Other
     Most Serious Post-Release Assault       Assault    Assault    Public  Public
     Event                    (26.6%,      (24.1%,    (20.3%,      Order   Order
                              n=1,170)     n=1,102)   n=517)     Offense Offense
                                                                  (22.5%, (23.7%,
                                                                  n=179) n=47)
       SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile,
       RECID05_OFFUPDT. The Commission excluded cases from this analysis that were
       missing information necessary to perform the analysis.



12       Available       at:       https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2017/20171207_Recidivism-Age.pdf (last visited February 3,
2023)
                                                 15
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 16 of 20




Id. at 22. Note that this table reflects a study by the Commission of the re-arrest rates of persons

within eight years of their release from prison. Id. at 6. Again, Mr. Campbell was released from

prison nearly fifteen years ago. He was arrested on this case in his early forties, consistent with

the roughly 50-50 likelihood that a person in their forties might be re-arrested. Since then, he has

maintained a lengthier period without getting into trouble.

       The downward variance Mr. Campbell requests in this case is similar to the variance

approved of by the Supreme Court in Gall, 552 U.S. 38. That case involved a young man who

netted over $30,000 as part of a drug distribution conspiracy, stipulating that he was responsible

for “ ‘at least 2,500 grams of [ecstasy], or the equivalent of at least 87.5 kilograms of marijuana.’ ”

Id. at 41, 42 (citation omitted.) He voluntarily withdrew from the conspiracy after about four

months, “self-rehabilitated[,]” graduated from college, and pursued a job in the construction

industry. Id. Upon being approached by law enforcement, he was forthcoming about his

involvement in the conspiracy. Id. at 42. Upon his indictment, he moved back to the district that

indicted him and turned himself in. Id. During the pendency of his indictment, he started his own

construction company, subcontracting to install windows and doors. Id.

       Mr. Gall’s guidelines range was 30 to 37 months, but the court varied downward,

imposing a 36-month probationary sentence. The Supreme Court found the court was well within

its discretion in doing so. It concluded the district court “quite reasonably attached great weight

to Gall’s self-motivated rehabilitation, which was undertaken not at the direction of, or under

supervision by, any court, but on his own initiative.” Id. at 59. It also found “it was not

unreasonable for the District Judge to view Gall’s immaturity at the time of the offense as a


                                                  16
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 17 of 20




mitigating factor, and his later behavior as a sign that he had matured and would not engage in

such impetuous and ill-considered conduct in the future.” Id.

       Mr. Campbell’s guidelines range was 37 to 46 months, though, as noted above, if it were

recalculated in another 7 months, it would be 24 to 30 months. He was not particularly young

when he possessed the firearm in this case, though the mere possession of a firearm in the trunk

of his car, even as a convicted felon, was less culpable conduct than Mr. Gall’s involvement in a

major drug distribution conspiracy. And just as the district court could reasonably view Mr. Gall’s

youth as a mitigating factor, this Court could view Mr. Campbell’s older age as a mitigating factor,

especially in light of the empirical evidence published by the Sentencing Commission, suggesting

that persons of Mr. Campbell’s age are far less likely to reoffend, along with his law-abiding

conduct while under eight and a half years of pre-trial release conditions. This record is relevant

to a number of the 18 U.S.C. § 3553(a) sentencing factors – most obviously deterrence and public

safety. While Mr. Gall’s rehabilitation and record of good employment began before he was ever

under supervised release, Mr. Campbell’s record of good conduct and gainful employment has

continued for over twice as long as Mr. Gall’s was at the time of his sentencing. In short, Mr.

Campbell’s case for a probationary sentence is every bit as compelling as Mr. Gall’s was, though

for somewhat different reasons.

       Again, it has now been nine years and one month since the offense conduct in this case,

eight and a half years since this Court released him, fifteen years since his release from prison,

and twenty-two years since the felony theft and parole violation that put him there. It has been

almost thirty years since Mr. Campbell’s most serious offense – an armed robbery that occurred

when he was 23 years old. Mr. Campbell has followed each of this Court’s orders and has been a


                                                17
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 18 of 20




model supervisee over the lengthy course of this case. Now 52, he has settled into a simple and

productive lifestyle, revolving around work, caring for his mother, and church. Any threat he once

posed of recidivism or to public safety has diminished as his productivity and age have increased.

       This Court may have a concern that granting such an extraordinary request in this case

would lead to a flood of early release requests by means of audita querela. However, the

equitable component of audita querela is a powerful gatekeeper, which explains why the

continued availability of this writ has not already opened the floodgates of post-conviction

litigation. For example, in Carrington v. United States, 503 F.3d 888, 893 (9th Cir. 2007), the Ninth

Circuit affirmed the denial of an audita querela petition premised on the non-retroactive

applicability of United States v. Booker, 543 U.S. 220 (2005), stating the petitioners had not shown

“any evidence that they were uniquely impacted by the Guidelines or that there are any equities

that distinguish them from other defendants sentenced before Booker.”

       Mr. Campbell’s claim, in contrast, is distinguished by the unique procedural posture that

permitted it to arise. Only rarely will a defendant have an opportunity to demonstrate, after the

imposition of their sentence but before its commencement, and over such a long period of time,

that they are amenable to probation. Only rarely will there be such time to demonstrate no

recidivism, compliance with numerous conditions, consistent communication with the

supervising officer, the process of “aging out” crime, and a consistent record of legitimate

employment. Those stars have aligned in this unique case. This series of unlikely events provided

Mr. Campbell a rare opportunity to demonstrate his fitness for probation, and there is no reason

to turn a blind eye to his model conduct over the past eight and a half years.




                                                 18
    Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 19 of 20




       This Court saw fit to sentence Mr. Campbell below his original Guidelines range of 37 to

46 months, and to keep him out on supervised release for the lengthy life of his appeal. He has

vindicated this Court’s judgment on these matters, acquitting himself well by all accounts, and

hopefully showing the Court, and all interested parties, that he is a worthy candidate for a

probationary sentence.

                                          CONCLUSION

       For the above reasons, Mr. Campbell respectfully requests that this Court grant this

 petition for writ of audita querela, and change his 28-month term of imprisonment to a 28-month

 term of probation, with all appropriate conditions.

       Respectfully submitted this 21st day of February, 2023.




                                                                        s / Jonathan R. Dodson
                                                                       JONATHAN R. DODSON
                                                                            FL Bar No. 0050177
                                                                   Assistant Federal Defender

                                                                     Federal Defenders of the
                                                               Middle District of Georgia, Inc.
                                                         440 Martin Luther King, Jr. Boulevard
                                                                                      Suite 400
                                                                       Macon, Georgia 31201
                                                                         Tel: (478) 743-4747
                                                                         Fax: (478) 207-3419
                                                            E-mail: jonathan_dodson@fd.org




                                               19
     Case 3:14-cr-00046-CAR-CHW Document 88 Filed 02/21/23 Page 20 of 20




                                       Certificate of Service

       I, Jonathan R. Dodson, hereby certify that on February 21, 2023, I caused the foregoing to

be electronically filed with the Clerk of Court using the CM/ECF system, which will send

notification of such to all counsel of record.




                                                                           s / Jonathan R. Dodson
                                                                          JONATHAN R. DODSON
                                                                               FL Bar No. 0050177
                                                                      Assistant Federal Defender

                                                                        Federal Defenders of the
                                                                 Middle District of Georgia, Inc.
                                                            440 Martin Luther King, Jr. Boulevard
                                                                                         Suite 400
                                                                          Macon, Georgia 31201
                                                                            Tel: (478) 743-4747
                                                                            Fax: (478) 207-3419
                                                              E-mail: jonathan_dodson@fd.orgg




                                                 20
